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Ao 91 (Rev. 11/11) criminal complaint wi §Me§ E»B§Sttist §

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UNITED STATES DISTRICT CoURT F'W? '
for the JUL § Z 2318

Southem District of Texas

   

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United States of America ) l

v. )

Luis Ernesto eoMEz (usc) YOB: 1995 § C‘"‘Se N°~ M ig "’ iq g 5 ' M
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Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, State that the following is true to the best of my knowledge and belief.
On or about the date(s) of Ju|y 11, 2018 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section l Ojj"ense Description
Title 18 USC 922 (K) in that he knowingly possessed a firearm, Which had the manufacturer's

serial number obliterated and that had, at one time, been shipped or
transported in interstate or foreign commerce.

This criminal complaint is based on these facts:

SEE ATTACHIV|ENT A

Ei Continued on the attached sheet.

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Comp/ainant 's signature

Freddie Summers, ATF Speciai Agent

Printed name and title

 

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rn to before me and signed in my presence.
Date: 71 l 3/ U % h’@\"“”"`=`__\

J dge’s signature
City and state; .|V|CA||en. TX . ott H cker, U.S. l\/lagistrate Judge
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Printed name and title

 

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Attachment A

I, Special Agent (S/A) Freddie Summers, affiant, do hereby depose and state the following:

This affidavit is in support of a criminal complaint charging Luis Ernesto Gomez With: `

Title 18 USC Section 924 (k) - lt shall.be unlawful for any person knowingly to transport, ship,
or receive, in interstate or foreign commerce any firearm Which has had the importer's or
manufacturer' s serial number removed, obliterated, or altered or to possess or receive any firearm
which has had the importer's or manufacturer s serial number removed, obliterated, or altered and
has, at any time, been shipped or transported in interstate or foreign commerce

The facts establishing probable cause are based on the following:

l.

Luis Ernesto Gomez, hereinafter referred to as GOMEZ is a suspect in an ATF firearms
trafficking investigation During the course of the investigation, ATF learned that had
GOMEZ purchased a firearm from a Federal Firearms Licensee‘ (FFL) located in the
Edinburg, TX (Southern District of Texas) on 06/30/18.

ATF agents made telephonic contact With GOMEZ and he agreed to voluntarily meet
With ATF agents for an interview. On July ll, 2018, GOMEZ voluntarily met With ATF
agents in a local restaurant in l\/IcAllen, TX for an interview.

During GOMEZ’s interview ATF agents reviewed a copy of the ATF Form 4473
GOMEZ filled out when he purchased a Smith & Wesson, model _SD40VE, .40 caliber
pistol on 6/30/18. GOMEZ confirmed that he had purchased the firearm for himself and
stated that the firearm was at his residence GOMEZ agreed to show ATF agents the
above detailed firearm at his residence GOMEZ allowed ATF agents to follow him as he
drove his vehicle back to his residence in order to view his fireami.

Upon arriving at his residence, GOMEZ went inside his residence, retrieved a Smith &
Wesson box, and handed it to ATF agents. Upon ATF agents inspecting the firearm
inside the box, they observed that the firearm Was a Smith & Wesson, model SD40VE,
.40 caliber pistol. Which is the same firearm detailed on GOMEZ’s ATF Form 4473.
Upon checking the serial number on the frame of the firearm agents observed that it had
been obliterated.

. ATF agents asked GOMEZ about the condition of his firearm’s serial number and

GOMEZ stated that he had obliterated the serial number using sand paper a short time
after he purchased it.

On July ll, 2018, ATF S/A F. Summers spoke with Interstate Nexus Examiner, ATF S/A
C. Delgado. Based on the information S/A Summers provided to S/A Delgado about the
firearm, S/A Delgado stated that the firearm possessed by GOMEZ Was manufactured
outside the State of Texas. Therefore, the firearm had previously traveled in interstate or

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foreign commerce at some point prior to being possessed by any person in the State of
Texas.

7. Based on the above information, your affiant believes GOMEZ in that he knowingly
possessed a firearm, which had the manufacturers serial number obliterated and that had,
at one time, been shipped or transported in interstate or foreign commerce in violation of
Title 18, United States Code, Section 922(k).

8. This affidavit is based on the personal knowledge and observations o_f your affiant and
other law enforcement personnel. This affidavit is intended to support probable cause,
but it is not intended to convey all the facts of the investigation.

